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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                FOR THE DISTRICT OF ARIZONA
10
     Todd Miller, et al.,                                      CV 21-00004-TUC-JGZ
11
                            Plaintiffs,                        STIPULATION FOR
12                                                            ORDER OF DISMISSAL
            vs.                                                WITH PREJUDICE
13
14   United States of America,
15                          Defendant.
16
           The parties stipulate to dismiss all claims in this action with prejudice, the parties to
17
     bear their own attorneys’ fees, costs and expenses. A proposed order is enclosed.
18
           RESPECTFULLY SUBMITTED this 24th day of June, 2022.
19
20         MERCALDO LAW FIRM                                  GARY M. RESTAINO
                                                              United States Attorney
21                                                            District of Arizona
22         s/Carlo N. Mercaldo with permission                s/Michael A. Ambri for
           CARLO N. MERCALDO                                  MICHAEL L. LINTON
23         RONALD D. MERCALDO                                 Assistant U.S. Attorney
           MARCO B. MERCALDO                                  Attorneys for Defendant
24         Attorneys for Plaintiffs
25
26
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       Case 4:21-cv-00004-JGZ Document 61 Filed 06/24/22 Page 2 of 2



                                CERTIFICATE OF SERVICE
 1
           I hereby certify that on June 24, 2022, I electronically transmitted the attached
 2   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the following CM/ECF registrants:
 3
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 8   s/Mary M. Parker
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